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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

APRILLE ELKINGTON,                         )
                                           )
               Plaintiff,                  )
                                           )
v.                                         )
                                                           CASE NO. 8:15-cv-01962-SDM-JSS
                                           )
EXETER FINANCE CORPORATION,                )
                                           )
               Defendant.                  )
                                           )
__________________________________________ )

                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiff Aprille Elkington (“Plaintiff”) and

defendant Exeter Finance Corporation (“Defendant”) hereby jointly stipulate and agree that

Plaintiff hereby dismisses, with prejudice, her claims asserted against Defendant in the above-

styled action, with the parties to bear their own attorney’s fees, costs and expenses. This Joint

Stipulation of Dismissal concludes this matter in its entirety.

       Respectfully submitted this 7th day of October, 2015.



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